                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


UNITED STATES OF AMERICA,              )
                                       )
           Plaintiff,                  )
                                       )
v.                                     )          No. 3:07-00256
                                       )          JUDGE ECHOLS
JAMES ALEXANDER and JEFFREY            )
ODOM,                                  )
                                       )
           Defendants.                 )


                                      ORDER


     For    the       reasons   stated     in    the    Memorandum       entered

contemporaneously herewith,

     (1)   Defendant James Alexander’s Motion to Suppress (Docket

Entry No. 23) is hereby DENIED; and

     (2)   Defendant Jeffrey Odom’s Motion to Suppress (Docket Entry

No. 28) is hereby GRANTED IN PART and DENIED IN PART.                 Defendant

Odom’s Motion to Suppress is GRANTED in that the Government is
prohibited from introducing the Lumina glovebox key into evidence

at trial, as well as any testimony by Officer Harry Haigh or any

other witness that the glovebox key was found in Defendant Odom’s

pocket at the scene of the traffic stop and that the key was used

to open the glovebox. The Government may elicit testimony from Ms.

Johnson that she gave the glovebox key to Defendant Odom earlier on

the day of the traffic stop and the Government may present evidence

that the Lumina’s glovebox was opened by Officer Haigh, where he




 Case 3:07-cr-00256     Document 45   Filed 07/09/08   Page 1 of 2 PageID #: 128
found a handgun, ammunition and a hat.         Defendant Odom’s motion to

suppress is DENIED in all other respects.

     It is so ORDERED.




                                    ___________________________________
                                    ROBERT L. ECHOLS
                                    UNITED STATES DISTRICT JUDGE




                                      2


 Case 3:07-cr-00256   Document 45   Filed 07/09/08   Page 2 of 2 PageID #: 129
